AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Western District of Missouri

                  United States of America                            )
                             v.                                       )
                                                                      )       Case No.   18-mj-2033DPR
                                                                      )
                  RHONDA G. PEEBLES                                   )          Charging District’s
                           Defendant                                  )          Case No.            3:18-CR-37

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                     Eastern       District of            Tennessee   ,
(if applicable)                                     division. The defendant may need an interpreter for this language:
                                                                .

          The defendant:             will retain an attorney.
                                     is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:             6/19/2018                                                                /s/ David P. Rush
                                                                                            Judge’s signature

                                                                                David P. Rush, United States Magistrate
                                                                                          Printed name and title




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